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Case 2:10-bk-46350-BB Doc 1-1 Filed 08/27/10        Entered 08/27/10 15:17:22   Desc
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Case 2:10-bk-46350-BB Doc 1-1 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
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                   Master Mailing Matrix - Part 1 Page 19 of 40
Case 2:10-bk-46350-BB Doc 1-1 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
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Case 2:10-bk-46350-BB Doc 1-1 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
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Case 2:10-bk-46350-BB Doc 1-1 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - Part 1 Page 22 of 40
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                   Master Mailing Matrix - Part 1 Page 24 of 40
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                   Master Mailing Matrix - Part 1 Page 29 of 40
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Case 2:10-bk-46350-BB Doc 1-1 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
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                   Master Mailing Matrix - Part 1 Page 39 of 40
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